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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


LUMINATI NETWORKS LTD.

               Plaintiff,

       v.                                            Case No. 2:18-cv-299-JRG
UAB TESONET AND UAB METACLUSTER                      JURY TRIAL DEMANDED
LT,
               Defendants.



            SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Luminati Networks Ltd. (“Luminati” or “Plaintiff”) brings this action under the

patent laws of the United States, Title 35 of the United States Code, and makes the following

allegations against UAB Tesonet upon information and belief now known as UAB Teso LT

(“Tesonet”) and believed successor-in-interest UAB Metacluster LT (“Metacluster,” collectively

“Defendants”):

                                         THE PARTIES


       1.      Plaintiff Luminati is an Israeli company having a principal place of business at 3

Hamahshev St., Netanya 42507, ISRAEL.

       2.      Upon information and belief, Defendant Tesonet, upon information and belief now

known as UAB Teso LT as stated by Defendant in in its Answer, is a Lithuanian corporation that

was headquartered at Jasinskio Street 16, Vilnius, 03163 Lithuania as of the filing of the original

complaint and is purportedly currently located at A. Goštauto g. 40A, LT-03163, Vilnius,

Lithuania. Tesonet may be served pursuant to the provisions of the Hague Service Convention.

Upon information and belief, as stated in Defendant’s Answer (Dkt. 11), UAB Tesonet was
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renamed UAB Teso LT on September 14, 2018. Upon information and belief, as stated by

Defendant UAB Teso LT in its May 3, 2019 responses to Plaintiff’s first set of interrogatories,

named Defendant UAB Tesonet LT underwent a corporate restructuring in September 2018, after

the filing of the original complaint on July 19, 2018, resulting in the creation of the following sister

companies to Teso LT: Oxysales, UAB, Metacluster lt, UAB, Code200, UAB and Coretech, UAB.

As stated by Defendant UAB Teso LT in its May 3, 2019 responses to Plaintiff’s first set of

interrogatories, since the restructuring in September of 2018, UAB Teso LT has used, provided,

sold or offered to sell the “Oxylabs Residential Proxy Service,” provided previously by named

defendant Tesonet.

       3.      As stated by Defendant UAB Teso LT in its May 3, 2019 responses to Plaintiff’s

first set of interrogatories Defendant Metacluster, is a Lithuanian corporation related to Tesonet

that did not exist as of the filing of the original complaint, but upon information and belief was

subsequently incorporated as the result of a corporate restructuring of Tesonet. Upon information

and belief, Metacluster is located at A. Goštauto g. 40A, LT-03163, Vilnius, Lithuania. Upon

information and belief, as stated by Defendant UAB Teso LT in its May 3, 2019 responses to

Plaintiff’s first set of interrogatories, since the restructuring in September of 2018, Metacluster has

used, provided, sold or offered to sell the “Real-Time Crawler” Residential Proxy Service,

provided previously by named defendant Tesonet. Upon information and belief, as informed by

recently produced discovery, Metacluster is a successor in interest in Tesonet’s Real-Time Crawler

residential proxy service. Metacluster may be served pursuant to the provisions of the Hague

Service Convention.

       4.      Upon information and belief, named defendant Tesonet used, provided, sold, and

offered to sell residential proxy services including Oxylabs Residential Proxy Service and Real-




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Time Crawler Residential Proxy Service (“Accused Instrumentalities”) at the time the original

complaint was filed and these services continue to be advertised, sold, and offered for sale through

Tesonet’s website. https://oxylabs.io/. Upon information and belief, Defendants share common

shareholders and jointly provide, sell and offer to sell the Accused Instrumentalities through the

same website. Upon information and belief, Defendants are jointly and severally liable for

infringing the Asserted Patents.

                                   JURISDICTION AND VENUE

        5.      This is an action for patent infringement under the patent laws of the United States

of America, 35 U.S.C. § 1, et seq.

        6.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1338, and 1367. Tesonet has not contested subject matter jurisdiction of this Court and

accepted service of process.

        7.      This Court has personal jurisdiction over Tesonet because it, directly or through its

subsidiaries, divisions, groups, or distributors, has sufficient minimum contacts with this forum as

a result of business conducted within the State of Texas, and/or pursuant to Fed. R. Civ. P. 4(k)(2).

On information and belief, Tesonet transacts substantial business in the State of Texas, directly or

through agents, including: (i) at least a portion of the infringement alleged herein, and (ii) regularly

does or solicits business in Texas, engages in other persistent courses of conduct, maintains

continuous and systematic contacts within this Judicial District, purposefully avails itself of the

privilege of doing business in Texas, and/or derives substantial revenue from services provided in

Texas. For example, on information and belief, Tesonet embeds its software, which is the subject

of the infringement alleged herein, in a number of applications which are placed into the stream of

commerce with the knowledge, understanding, and/or intention that they be downloaded and




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executed by individuals located in the State of Texas, as well as this Judicial District, including

the Marshall Division. Tesonet has not contested personal jurisdiction of this Court and thereby

acquiesced to personal jurisdiction by this Court.

        8.      This Court has personal jurisdiction over Metacluster because it, directly or through

its subsidiaries, divisions, groups, or distributors, has sufficient minimum contacts with this forum

as a result of business conducted within the State of Texas, and/or pursuant to Fed. R. Civ. P.

4(k)(2). On information and belief, Metacluster transacts substantial business in the State of Texas,

directly or through agents, including: (i) at least a portion of the infringement alleged herein, and

(ii) regularly does or solicits business in Texas, engages in other persistent courses of conduct,

maintains continuous and systematic contacts within this Judicial District, purposefully avails

itself of the privilege of doing business in Texas, and/or derives substantial revenue from services

provided in Texas. For example, on information and belief, Metacluster embeds its software,

which is the subject of the infringement alleged herein, in a number of applications which are

placed into the stream of commerce with the knowledge, understanding, and/or intention that they

be downloaded and executed by individuals located in the State of Texas, as well as this Judicial

District, including the Marshall Division, causing these devices to serve as residential proxy

devices for the accused residential proxy service.

        9.      This Court has general jurisdiction over Tesonet due to its continuous and

systematic contacts with the State of Texas and this jurisdiction. Further, Tesonet is subject to this

Court’s jurisdiction because it has committed patent infringement in the State of Texas and this

jurisdiction.

        10.     Following Brunette Machine Works v. Kockum Industries, Inc., 406 U.S. 706

1972), venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least because,




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upon information and belief, Defendants are foreign entities. Tesonet has not contested that venue

is proper.

                                      FACTUAL ALLEGATIONS

        11.     Derry Shribman and Ofer Vilenski are the sole inventors of a number of patents,

including U.S. Patent Nos. 9,241,044 (Exhibit A, “’044 Patent”) and divisional 9,742,866 (Exhibit

B, “’866 Patent”) (collectively the “Asserted Patents”).

        12.     The Asserted Patents are directed toward methods for fetching content over the

internet through the use of intermediary tunneling devices. Luminati identifies its patents on its

website at https://luminati.io/patent-marking#system-and-method-for-streaming-content-from-

multiple-servers.

        13.     The Asserted Patents were assigned to Hola Networks Ltd. (“Hola”). Hola has

subsequently changed its name to Luminati Ltd., before changing its name to Luminati Networks

Ltd., the Plaintiff in this action.

        14.     Luminati, formerly known as Hola, provides a cloud service connecting tens of

millions of devices over the Internet through a proxy-based network. Each participating device

allows the network to utilize a small fraction of that device’s idle time for the network. Luminati

utilizes this network to provide proxy-based services to businesses.

        15.     Since 2014, Luminati has offered proxy-based services relying on its “Residential

Proxy Network” that practice one or more claims of the Asserted Patents. Luminati permits its

business customers to utilize its residential proxy network to gather data over the Internet using

residential IP addresses from various localities as required by the customers. These residential IP

addresses provide businesses with a number of advantages. For example, online retailers may use

these addresses to gather comparative pricing information from its competitors, businesses may




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utilize these addresses to test their web sites from any city in the world, and cyber security firms

may employ these addresses to test web sites for malicious code.

        16.    Prior to and separate from the technology at issue in this case, Hola provided a

virtual private network (“VPN”) service called HolaVPN. Between November 2015 and June

2018, Hola, had a business relationship with Tesonet related to HolaVPN and Tesonet’s VPN

service called NordVPN.

        17.    On May 22, 2017, during a meeting between Hola Chief Executive Officer Ofer

Vilenski and Tesonet co-founder Tomas Okmanas, Mr. Okmanas informed Mr. Vilenski that

Tesonet was thinking about entering into the residential proxy business. Mr. Vilenski informed

Mr. Okmanas that Luminati has patents in this field and sent an email to Mr. Okmanas that same

day confirming that Luminati would send a letter identifying Luminati’s intellectual property in

this field.

        18.    On June 1, 2017, outside counsel for Hola sent Mr. Okmanas a letter (Exhibit C)

identifying the ’044 Patent and U.S. Patent No. 8,560,604 as Hola patents covering a proprietary

claim scope in the field of peer-to-peer based routing.

        19.    On February 14, 2018, Luminati sent a second letter to Mr. Okmanas referencing

the June 1, 2017 letter, further informing Tesonet of Hola’s name change to Luminati and the

issuance of the ’866 Patent among other patents in the field of IP VPN services using peer-to-peer

technology (Exhibit D). This letter also notified Tesonet that products and services offered under

Tesonet’s “OxyLabs” brand infringe the Asserted Patents.

        20.    On June 20, 2018, counsel for Tesonet sent a letter to Luminati’s counsel

acknowledging receipt of the February 14, 2018 letter but denying that Tesonet’s Oxylabs product




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practices claims of the Asserted Patents. Upon information and belief, “Oxylabs” is the brand

name for Defendants’ residential proxy services.




https://oxylabs.io/

       21.     Upon information and belief, Defendants offer large-scale web data extraction

products and services under the OxyLabs brand.” https://oxylabs.io/ (Exhibit E). Upon information

and belief, this includes a residential proxy network with ten million residential IP addresses from

more than 180 countries. https://oxylabs.io/. Upon information and belief, these residential

proxies are IP addresses that are assigned from a standard Internet Service Provider (ISP) to a

homeowner or other residential or mobile user. https://oxylabs.io/. Upon information and belief,

this residential proxy network is used to access content over the Internet, wherein that content may

be divided into portions, each of which includes part of the content and its own content identifier.

Upon information and belief, Defendants’ residential proxy network supports the residential proxy



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services of “Residential Proxy Service” and “Real-Time Crawler.” Upon information and belief

Tesonet has a contractual relationship with the related company Metacluster requiring Metacluster

to provide residential proxy devices in support of the “Real-Time Crawler” service.




https://oxylabs.io/.




https://oxylabs.io/proxies/residential-proxies. (Exhibit F)




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https://oxylabs.io/products/real-time-crawler




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https://oxylabs.io/faq. Upon information and belief, these residential proxies include IP addresses

located in Marshall, Texas.

       22.     Upon information and belief, the OxyLabs residential proxy network is based upon

numerous user devices, each of which is a client device identifiable over the Internet by an IP

address. Upon information and belief, these user devices become part of the network through the

execution of Defendants’ code embedded in applications downloaded by that devices user. Upon

information and belief, these devices send their identifier to a server (“First Server”), such as

Oxylab’s dedicated proxy servers, which store these identifiers.

       23.     Upon information and belief, Defendants have developed or are developing

OxyLabs embedded software for different platforms including Google Android and Windows.

Upon information and belief, while frequently renamed, the above OxyLabs embedded software

that enables the residential proxy network includes embedded code named “genericexitnode,”

“winnerbot,” “CoffeeService,” “instantcoffee,” and “ENService.”

       24.     Upon information and belief, the above OxyLabs embedded code has been

integrated and is believed to be currently embedded in at least the following software application(s)

that may be downloaded by any user located anywhere having Internet access: Birrastorming

Ideas, S.L’s “VL Video Player IPTV;” CC Soft’s “Followers Tool for Instagram;” Glidesoft

Technologies’ “Route Finder;” ImaTechInnovations’ “3D Wallpaper Parallax 2018;” Softmate

a/k/a Toolbarstudio Inc.’s “AppGeyser” and “Toolbarstudio”; Mobimento Mobile SI’s

“Mobincube”; Smart Media Internet Marketing Ltd.’s, also known as Mobbo, “TapVPN Free

VPN”; Smartshark App’s “Moments Cartoon Caricature,” “Daily Horoscope Orion,” “Star

horoscope,” “Daily horoscope,” and “AliFeed”; Kafui Util’s “Smart Kit 360”; Astrology and

Horoscope Studio’s “Cartoon Yourself,” “Daily Horoscope,” and “Horoscope Sirius,” and




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Auslogic’s “Auslogics Disk Defrag Free,” “Auslogics Duplicate File Finder,” Auslogics Registry

Cleaner,” “Auslogics Browser Care,” “Auslogics Registry Defrag,” and “Auslogics Windows

Slimmer.”

       25.      Upon information and belief, an OxyLabs customer may utilize the OxyLabs

residential proxy network by sending a request (“First Request”) from the customer’s device

(“First Device”) to the above First Server, which responds by sending the IP address (“Second

Identifier”) corresponding to one of a group of client devices in the proxy network, any one of

which may serve as a proxy device (“Second Device”) back to the First Device.

       26.      Upon information and belief, having received the Second Identifier, the Accused

Instrumentalities then send a request (“Second Request”) to the Second Device for specific Internet

data (“First Content”) identified by an identifier (“Content Identifier”) from a target server

(“Second Server”) identified by its own identifier (“Third Identifier”), which is forwarded by the

Second Device to the Second Server. Upon information and belief, the target Second Server

responds to the forwarded Second Request by sending the First Content to the Second Device,

which is then forwarded back to the Oxylabs customer at the First Device. Upon information and

belief, to the extent that the requested content is divided into portions or slices, the First Device

can construct the content from the plurality of Content Slices.

       27.      The use of the residential proxy network permits anonymity to Oxylabs customers,

such as for engaging in activities like as web crawling, without disclosing its identity to the targeted

web sites.

       28.      Since the filing of the original complaint on July 12, 2018, Tesonet has posted

information on its website under the title of “Bust the Bully: $100,000 for Prior Art” including

allegations that Luminati (a) is “threatening companies for alleged patent infringement without




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any evidence,” (b) “chooses to harass big and small companies alike” (c) “is also trying to disrupt

its competitors’ ability to compete on equal terms by sending lawsuit threats to clients of the

competing companies,” (d) “is using this unjustified business method to intimidate smaller market

players,” (e) is “engaged in deceptive behavior,” and (f) “has no patent rights outside of the United

States because their European applications for patents mentioned above have been withdrawn due

to lack of novelty.” https://oxylabs.io/bounty. This webpage includes an offer of a “bounty” for

“prior art that will be successfully used to invalidate Luminati’s patents.”

       29.     Upon information and belief, Tesonet has advertised the above $100,000 bounty on

its own website as well as on other publicly accessible websites, including Google. As shown in

the first two images below, Tesonet had placed an advertisement through its Oxylabs brand

specifically targeting the Luminati brand that displays its bounty against Luminati upon a search

of “luminati” in Google’s webpage. The Oxylabs hyperlink directs viewers to Tesonet’s “Bust the

Bully” webpage. The below images are exemplary Tesonet advertisements posted since the filing

of the original complaint.




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       30.       Upon information and belief, Tesonet directed the above advertising toward

Luminati’s customers and prospective customers seeking to harm Luminati’s business

relationships.

       31.       Upon information and belief, at least since the filing of the original complaint, Mr.

Urtė Černiauskaitė, legal counsel at Tesonet, contacted former Luminati employees seeking

information. Upon information and belief, Mr. Černiauskaitė has represented that Tesonet is

willing to pay former Luminati employees for assistance and has an allocated budget to do so.

Current and former Luminati employees are subject to a Personal Employment Agreement

(“Employment Agreement”). The terms of the Employment Agreement include a confidentiality

provision obligating the employee to keep in confidence Luminati’s proprietary information. In

addition to other proprietary information, at least one former employee approached by Mr.

Černiauskaitė has knowledge regarding Luminati’s residential service architecture.

       32.       Upon information and belief, Tesonet has been seeking confidential information

from former Luminati employees.

       33.       Tesonet has sent communications to email addresses registered in Luminati’s

residential proxy service, including customer emails and test emails generated by Luminati for the

purpose of testing Luminati’s proxy service. Upon information and belief, Tesonet has contacted

Luminati customers using proprietary Luminati information derived from at least Luminati’s

confidential customer lists. Upon information and belief, Tesonet has acquired this information

through unauthorized access to Luminati’s secure computer system.

       34.       Upon information and belief, Tesonet has used Luminati’s proprietary information

to derive a competitive advantage interfering with Luminati’s business relationships with its clients

and causing Luminati to lose customers.




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                                                COUNT I
                                      (Infringement of the ’044 Patent)

       35.      Luminati repeats and re-alleges the allegations contained in paragraphs 1-34 of this

Complaint as if fully set forth herein.

       36.      The ’044 Patent entitled “System and Method for Improving Internet

Communication by Using Intermediate Nodes” was duly and legally issued by the U.S. Patent and

Trademark Office on June 19, 2016 from Application No. 14/468,836 filed on August 26, 2014,

claiming priority to provisional applications 61/870,815 filed on August 28, 2013. A true and

accurate copy of the ’044 Patent is attached hereto as Exhibit A.

       37.      Each and every claim of the ’044 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.

       38.      Luminati exclusively owns all rights, title, and interest in and to the ’044 Patent and

possesses the exclusive right of recovery, including the exclusive right to recover for past

infringement.

       39.      Claim 81 of the ’044 Patent recites:

       Claim 81. A method for fetching over the Internet a first content, identified by a
             first content identifier, by a first device, identified in the Internet by a first
             identifier, from a second server identified in the Internet by a third identifier
             via a second device identified in the Internet by a second identifier, using a
             first server, the method comprising the steps of:
             (a) sending the first identifier to the first server;
             (b) sending a first request to the first server;
             (c) receiving the second identifier from the first server;
             (d) sending a second request to the second device using the second
             identifier, the second request includes the first content identifier and the
             third identifier; and
             (e) receiving the first content from the second device.

       40.      As described above in the above paragraphs, upon information and belief,

Defendants’ OxyLabs proxy residential network comprises numerous devices each of which is




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identifiable by its own IP address (“identifier”), which are stored on Defendants’ servers.

Consequently, Defendants’ OxyLabs proxy residential network would comprise at least a First

Device and Second Device with their corresponding First Identifier and Second Identifier and a

First Server.

       41.      As described above, upon information and belief, this network would permit a user

to access Internet content (“First Content”), identifiable by a content identifier such as a URL

(“First Content Identifier”) from a target server (“Second Server”), identifiable by its own

corresponding IP address (“Third Identifier”).

       42.      As described above, upon information and belief, the user devices of the OxyLabs

proxy residential network, any one of which could be a “First Device” sends its corresponding IP

address (“First Identifier”) to the OxyLabs server or “First Server,” which stores these identifiers.

       43.      As described above, upon information and belief, an OxyLabs customer can utilize

their device, which would be the First Device, to send a request (“First Request”) to the First

Server, causing the First Server to respond by sending the Second Identifier back to the First

Device. Upon information and belief, the OxyLabs customer can then send a second request

(“Second Request”), comprising a First Content Identifier and a Third Identifier to the Second

Device, which forwards the First Content Identifier to the Second Server. Upon information and

belief, the Second Server responds by sending the requested First Content to the Second Device,

which is forwarded back to the First Device.

       44.      Tesonet and successor-in-interest Metacluser had actual notice of the ’044 Patent

since at least June 1, 2017, and has known, including by way of communications on and since June

1, 2017 and this lawsuit, that implementation of the Accused Instrumentalities would infringe at

least claim 81 of the ’044 Patent.




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       45.     Defendants have been and are now directly infringing, literally and/or under the

doctrine of equivalents, one or more claims, including at least claim 81 of the ’044 Patent, by

implementing their residential proxy service in the United States without authority and/or license

from Luminati and are liable to Luminati under 35 U.S.C. § 271(a).

       46.     Defendants have been and are now indirectly infringing, literally and/or under the

doctrine of equivalents, one or more claims, including at least claim 81 of the ’044 Patent, by

providing this residential proxy service to their customers knowing that the use of such service

infringes these claims in the United States without authority and/or license from Luminati and is

liable to Luminati under 35 U.S.C. § 271(b).

       47.     As a result of Defendants’ infringement of the ’044 Patent, Luminati has suffered

and continues to suffer damages. Thus, Luminati is entitled to recover from Defendants the

damages Luminati sustained as a result of Tesonet’s wrongful and infringing acts in an amount no

less than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this

Court under 35 U.S.C. § 284.

       48.     Luminati has suffered damage because of the infringing activities of Defendants,

their officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Luminati will continue to suffer irreparable harm for which

there is no adequate remedy at law unless Defendants’ infringing activities are preliminarily and

permanently enjoined by this Court.

       49.     Defendants’ infringement of the ’044 Patent was, is, and continues to be deliberate

and willful because Tesonet was and is on notice of the ’044 Patent at least as early as June 1,

2017, yet Defendants continued and continue to infringe the ’044 Patent.

                                               COUNT II
                                     (Infringement of the ’866 Patent)



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       50.      Luminati repeats and re-alleges the allegations contained in paragraphs 1-49 of this

Complaint as if fully set forth herein.

       51.      The ’866 Patent entitled “System and Method for Improving Internet

Communication by Using Intermediate Nodes” was duly and legally issued by the U.S. Patent and

Trademark Office on August 22, 2017 from Application No. 14/930,894 filed on August 22, 2017,

a divisional of Application No. 14/468,836 that issued as the ’044 Patent, both of which claim

priority to provisional applications 61/870,815 filed on August 28, 2013. A true and accurate copy

of the ’866 Patent is attached hereto as Exhibit B.

       52.      Each and every claim of the ’866 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.

       53.      Luminati exclusively owns all rights, title, and interest in and to the ’866 Patent and

possesses the exclusive right of recovery, including the exclusive right to recover for past

infringement.

       54.      Claim 15 of the ’866 Patent recites:

       Claim 15. A method for fetching a content over the Internet from a first server
             identified in the Internet by a second identifier via a group of multiple
             devices, each identified in the Internet by an associated group device
             identifier, the method comprising the step of partitioning the content into a
             plurality of content slices, each content slice containing at least part of the
             content, and identified using a content slice identifier, and for each of the
             content slices, comprising the steps of:
             (a) selecting a device from the group;
             (b) sending over the Internet a first request to the selected device using the
             group device identifier of the selected device, the first request including the
             content slice identifier and the second identifier;
             (c) in response to receiving the sent first request by the selected device,
             receiving over the Internet the content slice from the selected device; and
             wherein the method further comprising the step of constructing the content
             from the received plurality of content slices, and
             wherein each of the devices in the group is a client device.




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       55.     As described above, upon information and belief, Defendants’ OxyLabs proxy

residential network comprises numerous devices, each of which is a client device identifiable by

its own identifier. Defendants’ OxyLabs proxy residential network permits Defendants’ customers

to request content from the customer’s device (“First Device”) identifiable by its own IP address

(“First Identifier”) via a proxy device (“Second Device”), selected from a group of client devices

(“Group”) each of which has its own IP address (“Group Device Identifier”), from a target server

(“First Server”) identifiable by its own IP address (“Second Identifier”). As further described

above, this content may be divided into portions (“Content Slices”) identifiable by their own

identifiers (“Content Slice Identifier”).

       56.     As described above, upon information and belief, this network would permit the

First Device to select a Second Device from the Group and send a request (“First Request”) over

the internet to the Second Device using the selected second device IP address (“Second Device

Identifier”). This First Request includes the Content Slice Identifier and Second Identifier.

       57.     As described above, upon information and belief, the above Second Device

responds to the First Request by sending a second request (“Second Request”) to the First Server

with the Content Slice Identifier. The First Server responds by sending the requested Content Slice

to the Second Device, which forwards the Content Slice back to the receiving First Device. The

First Device then constructs the content from the plurality of Content Slices.

       58.     Tesonet and successor-in-interest Metacluser have had actual notice of the ’866

Patent since at least February 14, 2018, and has known, including by way of communications on

and since February 14, 2018 and this lawsuit, that implementation of the Accused Instrumentalities

would infringe at least claim 15 of the ’866 Patent.




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       59.     Defendants have been and are now directly infringing, literally and/or under the

doctrine of equivalents, one or more claims, including at least claim 15 of the ’866 Patent, by

implementing their residential proxy service in the United States without authority and/or license

from Luminati and are liable to Luminati under 35 U.S.C. § 271(a).

       60.     Defendants have been and are now indirectly infringing, literally and/or under the

doctrine of equivalents, one or more claims, including at least claim 15 of the ’866 Patent, by

providing this residential proxy service to their customers knowing that the use of such service

infringes these claims in the United States without authority and/or license from Luminati and are

liable to Luminati under 35 U.S.C. § 271(b).

       61.     As a result of Defendants’ infringement of the ’866 Patent, Luminati has suffered

and continues to suffer damages. Thus, Luminati is entitled to recover from Defendants the

damages Luminati sustained as a result of Defendants’ wrongful and infringing acts in an amount

no less than its lost profits and/or a reasonable royalty, together with interest and costs fixed by

this Court under 35 U.S.C. § 284.

       62.     Luminati has suffered damage because of the infringing activities of Defendants,

their officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Luminati will continue to suffer irreparable harm for which

there is no adequate remedy at law unless Defendants’ infringing activities are preliminarily and

permanently enjoined by this Court.

       63.     Defendants’ infringement of the ’866 Patent was, is, and continues to be deliberate

and willful because Tesonet was and is on notice of the ’866 Patent at least as early as February

14, 2018, yet Defendants continued and continues to infringe the ’866 Patent.

                                            COUNT III




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 (Misappropriation of Trade Secret Under Federal Defense of Trade Secret Act Under 18 U.S.C.
                                       § 1836 et sec.)

       64.     Luminati repeats and re-alleges the allegations contained in paragraphs 1-64 of this

Complaint as if fully set forth herein.

       65.     Luminati takes reasonable measures to protect the confidentiality of valuable trade

secrets related to its residential proxy service, including automated and technical measures in

addition to the requirement that its employees protect the confidentiality of Luminati trade secrets.

This non-public information has actual independent economic value derived from Luminati’s

experience in the residential proxy service field.

       66.     Luminati’s residential proxy service is intended for use in interstate or foreign

commerce, including commerce in the Eastern District of Texas.

       67.     Upon information and belief, Tesonet misappropriated Luminati’s trade secrets

including but not limited to Luminati’s customer list for the purpose of competing with Luminati’s

residential proxy service.

       68.     Luminati has suffered damages and Tesonet has been unjustly enriched as Luminati

lost business to Tesonet’s competing Oxylabs service as a result of Tesonet’s misappropriation of

Luminati’s trade secrets.

       69.     Tesonet’s misappropriation of Luminati trade secrets was willful and malicious.

       70.     Luminati is entitled to recover the actual loss suffered by Luminati, any additional

damages to account for Tesonet’s unjust enrichment, and exemplary damages as a result of

Tesonet’s misappropriation of its trade secrets under 18 U.S.C. § 1836(b)(3)(B) and (C) et sec.

                                         COUNT IV
  (Intentional Unauthorized Access of Protected Computer Under 18 U.S.C. § 1030(g) et sec.)




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       71.     Luminati repeats and re-alleges the allegations contained in paragraphs 1-71 of this

Complaint as if fully set forth herein.

       72.     Upon information and belief, Tesonet intentionally accessed Luminati’s computer

system without authorization and misappropriated Luminati’s trade secrets, including Luminati’s

customer list relating to Luminati’s residential proxy service which is used interstate and foreign

commerce, including commerce in the Eastern District of Texas.

       73.     Luminati suffered damage through the misappropriation of data on its computer

system. Luminati also suffered loss in excess of $5,000 in value within the last year through the

expense of investigating the intrusion in Luminati’s computer system.

       74.     Luminati is entitled to recover compensatory damages and an injunction against the

use of Luminati’s confidential information under 18 U.S.C. § 1030(g).

                                          COUNT V
                      (False Advertising Under 15 U.S.C. § 1125(a) et sec.)

       75.     Luminati repeats and re-alleges the allegations contained in paragraphs 1-75 of this

Complaint as if fully set forth herein.

       76.     Upon information and belief, since the filing of the original complaint and in

retaliation thereto, Tesonet has engaged in false advertising against Luminati under 15 U.S.C. §

1125(a) by making false advertisements to the public at large, including Luminati’s customers.

Through these false advertisements, Luminati believes and thus avers that Tesonet has materially

represented Luminati’s business practices, the basis for Luminati’s complaint against Tesonet, the

value of Luminati’s intellectual property rights, and the nature and characteristics of Tesonet’s

own residential proxy service.

       77.     Tesonet caused its false advertising to enter interstate commerce, including upon

information and belief in the Eastern District of Texas. Tesonet’s false advertising has at been



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distributed through at least Internet communications and advertisements including, but not limited

to, advertisements placed with Google responsive to queries regarding Luminati.

       78.       Tesonet’s actions have deceived, or are likely to deceive, a substantial segment of

Luminati’s customers who have purchased or would otherwise purchase Luminati’s residential

proxy service.

       79.       Tesonet’s actions have caused Luminati injury to a commercial interest in both its

business reputation and its sales by its customers. Luminati’s commercial injuries are a direct

result of Tesonet’s false statements directed to Luminati’s customers regarding Luminati’s

intellectual property and business practices.

       80.       Luminati is entitled to a judgment that Tesonet has engaged in false advertising

against Luminati, which is the direct cause of Luminati’s injuries to its commercial interests in its

reputation and sales under 15 U.S.C. 1125(a), and damages pursuant to 15 U.S.C. § 1117.

       81.       This case is exceptional, given Tesonet’s extensive targeting of Luminati customers

and prospective customers through its disparaging and deceptive online advertising campaign.

Luminati is entitled to an award of attorneys’ fees as this case is exceptional under 15 U.S.C. §

1117(a).

                                            COUNT VI
                   (Tortious Interference with Luminati’s Business Relationships)

       82.       Luminati repeats and re-alleges the allegations contained in paragraphs 1-82 of this

Complaint as if fully set forth herein.

       83.       Luminati has contractual relationships with numerous customers, including

customers that are registered in the Eastern District of Texas and/or use Luminati’s residential

proxy service in the Eastern District of Texas.




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       84.      Upon information and belief, Tesonet has used Luminati proprietary information

to intentionally and willfully contact Luminati customers and interfere with Luminati’s

relationship with these customers.

       85.      Luminati has suffered damages and Tesonet has been unjustly enriched as Luminati

lost business to Tesonet’s competing Oxylabs service. Tesonet’s interference with Luminati’s

customer relationships was the proximate cause of this lost business.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Luminati respectfully requests that this Court enter:


       A. A judgment that each of the Asserted Patents is valid and enforceable.

       B. A judgment in favor of Luminati that the Defendants have and are infringing the

             Asserted Patents;

       C. A judgment declaring Defendants’ infringement to be willful.

       D. A judgment declaring that this case is exceptional within the meaning of 35 U.S.C. §

             285;

       E. A permanent injunction enjoining Defendants, their officers, directors, agents, servants,

             employees, associates, partners, and other persons who are in active concert or

             participation with Defendants, from infringing the Asserted Patents and/or such other

             equitable relief the Court determines is warranted in this case;

       F. A judgment and order requiring the Defendants to pay to Luminati its damages,

             enhanced damages, costs, expenses, prejudgment and post-judgment interest, and

             attorneys’ fees, if applicable, for the Defendants’ infringement of the Asserted Patents

             as provided under 35 U.S.C. §284 and/or §285, and an accounting of ongoing post-

             judgment infringement;



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      G. A judgment in favor of Luminati that the Tesonet’s misappropriated Luminati’s trade

         secrets under 18 U.S.C. § 1836(b);

      H. A judgment and order for damages under 18 U.S.C. § 1836(b)(3)(B);

      I. A judgment and order for exemplary damages under 18 U.S.C. § 1836(b)(3)(C);

      J. A judgment in favor of Luminati that the Defendant accessed Luminati computer

         systems under 18 U.S.C. § 1030(a)(5)(B);

      K. A judgment and order for compensatory damages under 18 U.S.C. § 1030(g);

      L. A permanent injunction requiring Tesonet to destroy all proprietary information

         gathered through the unauthorized access of Luminati’s computer system under 18

         U.S.C. § 1030(g);

      M. A judgment in favor of Luminati that Tesonet had engaged in false advertising against

         Luminati, and order requiring Tesonet to pay monetary relief to Luminati, including (i)

         profits received by Tesonet and/or damages sustained by Luminati as a result of

         Tesonet’s false advertising and (ii) damages in the form of money to be spent on

         corrective advertising, to dispel any actual confusion that may have already occurred

         among relevant consumers and in the marketplace by virtue of Tesonet’s false

         advertising;

      N. That Tesonet be found to have acted wilfully in its false advertising, and that monetary

         relief for Tesonet’s false advertising be increased due to the wilfull nature of Tesonet’s

         false advertising pursuant to 15 U.S.C. § 1117;

      O. A permanent injunction enjoining Tesonet, its officers, employees, agents,

         representatives, attorneys and others acting on its or their behalf, from committing

         further acts of false advertising described herein;




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        P. A declaration that this is an exceptional case within the meaning of 35 U.S.C. § 285,

            15 U.S.C. § 1117(a) and/or other applicable laws, and that Luminati is entitled to

            recover its reasonable attorney’s fees and costs upon prevailing in this action;

        Q. A judgment in favor of Luminati that the Tesonet tortiously interfered with Luminati’s

            business relationships;

        R. Disgorgement of the amount by which Tesonet has been unjustly enriched; and

        S. Any and all other relief, at law or in equity that this Court deems just or proper.



                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Luminati hereby demands

a trial by jury of all issues so triable.


 Dated: July 23, 2019                              Respectfully submitted,

                                                   By: /s/ Korula T. Cherian_

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